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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 IMPLICIT, LLC,                                  §
                                                 §
               Plaintiff,                        §
                                                 §
 v.                                              §
                                                 §
 NETSCOUT SYSTEMS, INC.,                         §   CIVIL ACTION NO. 2:18-CV-00053-JRG
                                                 §   (LEAD)
                                                 §
                                                 §
 SANDVINE CORPORATION                            §   CIVIL ACTION NO. 2:18-CV-00054-JRG
                                                 §   (MEMBER)
               Defendants.                       §

                                           ORDER

       The Court held a Pretrial Conference in the above-captioned matters on November 13,

2019 (the “Pretrial Conference”) to address the pretrial motions and motions in limine (“MIL”)

filed by Plaintiff Implicit, LLC (“Implicit”) and Defendants NetScout Systems, Inc. (“NetScout”)

and Sandvine Corporation (“Sandvine”) (collectively, the “Defendants”) (together with Implicit,

the “Parties”). (Dkt No. 206.) This Order memorializes the Court’s rulings as announced into the

record. This Order summarizes the Court’s rulings during the Pretrial Conference and does not

limit or constrain the Court’s rulings from the bench. Accordingly, it is hereby ORDERED as

follows:

I. Pretrial Motions

       Defendants’ Motion to Exclude Dr. Keith Ugone’s Reasonable Royalty Calculation and

Opinions Regarding Damages (Dkt. No. 141) was DENIED-IN-PART and GRANTED-IN-

PART. The Court GRANTED the motion as to the portion of Dr. Ugone’s report which relied on

two hypothetical negotiations between Implicit and NetScout, with one occurring in April 2014
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and one occurring in July 2015. The Court granted leave to Implicit to supplement Dr. Ugone’s

report to opine as to an April 2014 hypothetical negotiation for the Arbor and GeoProbe products,

such supplement to be completed by November 15, 2019. Defendants are permitted leave to

conduct a new deposition for a total of two and half hours solely in response to the supplement,

such deposition to be completed by November 18, 2019. Further, Defendants may file a new

Daubert motion related to the supplement, such motion to be filed if at all by November 21, 2019

at 12:00 p.m. CST, and Implicit is permitted leave to file a response to the same by November 24,

2019 at 12:00 p.m. CST. (See Dkt. No. 206 at 34:17–35:) The motion was DENIED in all other

respects.

       Defendants’ Motion to Exclude Portions of Dr. Kevin C. Almeroth’s Opinions Regarding

Infringement (Dkt. No. 143) was DENIED. Defendants’ Motion for Summary Judgment of Non-

Infringement (Dkt. No. 142) was also DENIED. (Dkt. No. 206 at 60:22–61:8.)

       Plaintiff’s Daubert Motion to Exclude Portions of NetScout’s and Sandvine’s Invalidity

Expert Report and Testimony (Dkt. No. 144) was DENIED. Plaintiff’s Motion for Partial

Summary Judgment (Dkt. No. 145) was also DENIED. (Dkt. No. 206 at 64:23.)

II. Stipulations of Agreement

       Prior to the Pretrial Conference, the Parties entered into a Joint Stipulation Regarding

Certain Agreements (Dkt. No. 183) and a Joint Stipulation Regarding Certain Agreements on

Motions in Limine (the “MIL Stipulations”) (Dkt. No. 196) (collectively, the “Joint Stipulations”).

During the Pretrial Conference, the Court ORDERED that the Joint Stipulations be treated as

agreed motions in limine. (Dkt. No. 206 at 65:9–24.) Accordingly, the following are GRANTED

as motions in limine:




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   1. Defendants will not offer, solicit, or refer to testimony, evidence, or argument regarding

      any alleged wrongs relating to Edward Balassanian personally, or entities other than

      Implicit LLC, Implicit Networks, Inc., or Becomm Corp., that Mr. Balassanian has an

      interest in, that do not relate to loans or non-familial financial disputes discussed in

      Defendants’ damages expert reports. The alleged wrongs that Defendants will not offer,

      solicit, or refer to testimony, evidence, or argument regarding include, but are not limited

      to: (1) any dispute between Mr. Balassanian and a landlord; (2) any dispute involving Mr.

      Balassanian’s wife/ex-wife or any other romantic relationship; (3) any alleged FDA

      investigation relating to Vital Juice; (4) any alleged speeding by Mr. Balassanian; (5) any

      alleged reckless driving by Mr. Balassanian; (6) any alleged driving while under the

      influence by Mr. Balassanian; (7) any alleged revocation of Mr. Balassanian’s driver’s

      license; (8) any alleged refusal by Mr. Balassanian to submit to a Breathalyzer test; (9) any

      alleged lewd conduct by Mr. Balassanian; (10) any alleged receipt of stolen property by

      Mr. Balassanian; and (11) any back taxes owed by Mr. Balassanian or entities other than

      Implicit LLC, Implicit Networks, Inc., or Becomm Corp., that Mr. Balassanian has an

      interest in. Notwithstanding anything to the contrary in the immediately preceding

      sentence, this limine order does not apply to any alleged misuse of company funds or

      alleged misleading of investors by Mr. Balassanian. Further, in the event that Implicit

      offers, solicits, or refers to testimony, evidence, or argument regarding Mr. Balassanian’s

      moral character or character for truthfulness, then this limine order will not preclude

      Defendants from attempting to admit evidence to attack Mr. Balassanian’s moral character

      or character for truthfulness, if the Court grants prior leave for such based on Implicit

      “opening the door.”




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   2. Defendants will not offer, solicit, or refer to testimony, evidence, or argument regarding

      any alleged invalidity of any patent-in-suit for improper inventorship.

   3. The Parties will not offer, solicit, or refer to testimony, evidence, or argument regarding

      “hallmarks of infringement.”

   4. The Parties will not offer, solicit, or refer to testimony, evidence, or argument regarding

      NetScout’s TrueView product.

   5. Implicit will not offer, solicit, or refer to testimony, evidence, or argument regarding any

      alleged infringement under the doctrine of equivalents.

   6. Defendants will not offer, solicit, or refer to testimony, evidence, or argument regarding

      any alleged invalidity of any patent-in-suit for lack of enablement.

   7. Defendants will not offer, solicit, or refer to testimony, evidence, or argument regarding

      any alleged invalidity of any patent-in-suit for being directed to unpatentable subject matter

      under 35 U.S.C. § 101.

   8. Defendants will not offer, solicit, or refer to testimony, evidence, or argument regarding

      any alleged invalidity of any patent-in-suit for lack of utility under 35 U.S.C. § 101.

   9. Defendants will not refer to Implicit LLC, Implicit Networks, Inc., Becomm Corp., or

      Edward Balassanian as a patent troll, patent pirate, paper patentee, licensing entity, patent

      assertion entity, or non-practicing entity.

   10. The Parties will not refer to the Texas Family Code when referencing or describing any

      clear and convincing burden of proof.

   11. Implicit will not offer, solicit, or refer to testimony, evidence, or argument of Defendants’

      total revenue, profits, other than the apportioned and unapportioned royalty bases.

      However, Implicit may adduce offer, solicit, or refer to testimony, evidence, or argument,




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       using relative terms, that sales of the accused products make up a large portion of each

       Defendants total or U.S. revenue or profits. Some non-limiting examples of such relative

       terms are, “nearly all,” “the majority,” “the vast majority,” “more than half,” “practically

       all,” “a significant portion,” etc. If Defendants’ question what such relative terms mean,

       Implicit’s witnesses will be permitted to respond with percentages, if the Court grants prior

       leave to do so.

   12. No Party will put forth testimony or evidence regarding correspondence between counsel

       and third-party witnesses relating to the service of subpoenas, scheduling depositions, and

       producing documents in the case, with the exceptions of third-parties David Mosberger,

       Larry Peterson, and Dan Decasper.

   13. Implicit will not offer or otherwise use the Sandvine declaration at Dkt. No. 18-2 as part

       of a direct examination during its opening case, but shall have the right to offer or otherwise

       use the declarations within the scope of any appropriate cross-examination or rebuttal, or

       to impeach; including during any adverse direct if Implicit calls Sandvine’s corporate

       representative(s) in its case in chief.

   14. Neither Defendant will offer, solicit, or refer to testimony, evidence, or argument relating

       to the dispute between Implicit and R. Michael Crill.

III. Disputed Motions in Limine

   A. Implicit’s Motions in Limine (Dkt. No. 185)

       Implicit’s MIL No. 1: Preclude inflammatory references to alleged improper conduct by

Implicit’s founder based on a passing statement in a discovery brief on an unrelated matter.

       The motion in limine was WITHDRAWN based upon the agreement memorialized by the

MIL Stipulations.




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       Implicit’s MIL No. 2: Preclude prejudicial references to Vital Juice back-pay disputes.

       This motion in limine was GRANTED. The Defendants may not elicit testimony or

introduce evidence concerning disputes regarding former employees of Vital Juice and Vital Juice

or Mr. Balassanian. (Dkt. No. 206 at 77:2–7.)

       Implicit’s MIL No. 3: Preclude references to the following prior litigation: (1) Implicit

Networks, Inc. v. Juniper Networks, Inc., No. 3:10-cv-04234-SI (N.D. Cal.); (2) Implicit Networks,

Inc. v. F5 Networks, Inc., No. 3:10-cv-03365-SI (N.D. Cal.); and (3) Implicit, LLC. v. F5 Networks,

Inc., No. 3:14-cv-02856-SI (N.D. Cal.).

       This motion in limine was DENIED AS MOOT in light of Defendants’ Common MIL

No. 11. (Dkt. No. 206 at 70:23–25.)

   B. Defendants’ Motions in Limine (Dkt. No. 181)

       Defendants’ Common MIL No. 1: Preclude Implicit from suggesting certain prior art was

submitted to and considered by the Patent and Trademark Office (“PTO”).

       This motion in limine was DENIED. However, the Court ORDERED that Implicit is

precluded from going beyond saying that such prior art was before the PTO by taking the additional

step of speculating about what the PTO or any particular examiner may have actually relied on,

considered, or formed an opinion about. (See Dkt. No. 206 at 88:15–89:8.)

       Defendants’ Common MIL No. 2: Preclude Implicit from presenting any evidence

regarding reduction to practice of the asserted claims with any prototype or product prior to

constructive reduction to practice on December 29, 1999.

       This motion in limine was GRANTED-IN-PART and DENIED-IN-PART in the manner

and to the degree described by the Court during the hearing including that Implicit may not cite or




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rely upon source code that was produced late to prove an earlier reduction to practice. (Dkt. No.

206 at 95:18–21.) In all other respects, this motion in limine was DENIED.

       Defendants’ Common MIL No. 3: Preclude Implicit from referencing non-comparable

settlement agreements addressed in the Daubert motion (Dkt. No. 141).

       This motion in limine was DENIED. (Dkt. No. 206 at 78:14.)

       Defendants’ Common MIL No. 4: Preclude Implicit from referencing any

settlement/license agreements in which (1) the demultiplexing patents were not asserted in the

underlying litigation; or (2) the demultiplexing patents were asserted in addition to other patents

in the underlying litigation.

       This motion in limine was DENIED based on the representations made on the record by

Implicit at the Pretrial Conference that there would be no effort by Implicit to go beyond a high-

level indication of why the license agreements to “unrelated” patents were dropped from Dr.

Ugone’s analysis. (Dkt. No. 206 at 80:13–81:17.)

       Defendants’ Common MIL No 5: Preclude Implicit from soliciting or putting on testimony

or evidence that presents a single revenue number for the royalty base that encompasses both

accused and non-accused products with no explanation as to what amount is attributable to accused

products versus non-accused products.

       This motion in limine was DENIED. (Dkt. No. 206 at 83:20–84:7.)

       Defendants’ Common MIL No. 6: Preclude Implicit from referencing Defendants’ total

profits, revenues, and other financial information beyond the apportioned royalty base.

       This motion in limine was WITHDRAWN based upon the agreement memorialized by

the MIL Stipulations.




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        Defendants’ Common MIL No. 7: Preclude Implicit from soliciting or putting on testimony

or evidence regarding correspondence between counsel and third-party witnesses relating to the

service of subpoenas, scheduling depositions, and producing documents in the case, with the

exception of third-party David Mosberger.

        This motion in limine was WITHDRAWN based upon the agreement memorialized by

the MIL Stipulations.

        Defendants’ Common MIL No. 8: Preclude both Parties from introducing any testimony,

evidence, or argument that includes the concepts of “stealing” or “pilfering.”

        This motion in limine was GRANTED. Neither party may illicit testimony, offer evidence,

or make an argument to characterize any conduct of the other party as “stealing” or “pilfering.”

Nor may any party illicit testimony, offer evidence, or make an argument to the effect that they

were not “pilfering” or “stealing” various prior art ideas. (See Dkt. No. at 99:23–100:13)

        Defendants’ Common MIL No. 9: Preclude evidence or argument regarding any of the

Court’s prior and forthcoming rulings except for the applicable claim constructions.

        This motion in limine was WITHDRAWN based upon the agreement memorialized by

the MIL Stipulations.

        Defendants’ Common MIL No. 10: Except for the purposes of impeachment or to show

inconsistencies in opinions or positions, the Parties will not solicit or put on testimony or evidence

from any prior litigation involving Defendants or the Accused Products. Even when used for such

excepted purposes, the Parties will not solicit testimony that describes the context of the prior

litigation or the outcome of the prior litigation.




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       This motion in limine was GRANTED. However, this motion in limine shall not preclude

an expert from relying on the substance of information from prior litigation without attributing

such information to the prior litigation. (See Dkt. No. 206 at 72:20–74:10)

       Defendants’ Common MIL No. 11: The Parties will not offer, solicit, or refer to testimony,

evidence, or argument regarding any findings, holdings, or adjudications in/from: (a) Implicit

Networks, Inc. v. Juniper Networks, Inc., No. 3:10-cv-04234-SI (N.D. Cal.); (b) Implicit Networks,

Inc. v. F5 Networks, Inc., No. 3:10-cv-03365-SI (N.D. Cal.); (c) Implicit, LLC. v. F5 Networks,

Inc., No. 3:14-cv-02856-SI (N.D. Cal.); (d) any appeals related to the cases identified in paragraphs

2 (a-c); (e) Packet Intelligence, LLC v. NetScout Systems, Inc., et al, 2:16-cv-230-JRG (E.D. Tex.);

or (f) any re-examination proceedings relating to the Asserted Patents or related patents.

       This motion in limine was GRANTED. (Dkt. No. 206 at 70:9–12.)

       NetScout’s MIL No. 12: Preclude Implicit from soliciting or putting on testimony or

evidence relating to sales of Arbor or GeoProbe products prior to July 2015.

       This motion in limine was WITHDRAWN by NetScout. (Dkt. No. 206 at 84:13–14.)

       Sandvine’s MIL No. 13: Preclude Implicit from soliciting or putting on testimony or

evidence relating to venue, including briefing and declarations made in support of Sandvine’s

motion to dismiss.

       This motion in limine was WITHDRAWN based upon the agreement memorialized by

the MIL Stipulations.

IV. Exhibits

       The Parties represented to the Court that all exhibit disputes between the Parties had been

resolved. The Court ORDERED the Parties to jointly submit a final list of pre-admitted exhibits.

(Dkt. No. 206 at 102:13–17.)




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      So Ordered this
      Nov 21, 2019




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